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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                           MIDLAND/ODESSA DIVISION

AUTONOMOUS IP, LLC,
    Plaintiff,                                     Civil Action No. 7:24-cv-00051

v.

LYFT, INC.,                                        JURY TRIAL DEMANDED
      Defendant


                             NOTICE OF RELATED CASES
      Please be advised that the attached “Exhibit A” contains all related cases. The cases are

related by common entity, Autonomous IP, LLC, and common patents.

                                            Respectfully submitted,
                                            Ramey LLP

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